               Case 1:11-cr-00230-AT-GGB Document 249 Filed 02/02/12 Page 1 of 2




                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


             UNITED STATES OF AMERICA,
                                                        CRIMINAL CASE NO.
             v.
                                                        1:11-cr-230-JEC
             PASQUALE PETER GODUTO-03,


                  Defendants.

                                                ORDER

                   The above criminal action is presently before the Court on the

             Magistrate Judge’s Final Report and Recommendation [214] recommending

             denying Pasquale Peter Goduto’s Motion to Suppress Identification

             Testimony [151] and Motion to Sever [146].          No objections to the

             Report and Recommendation [214] have been filed.             The Court has

             reviewed the Final Report and Recommendation [214] on the merits and

             finds the magistrate judge’s conclusions to be well-founded.

                   It is hereby Ordered that the Court ADOPTS the Magistrate

             Judge’s Final Report and Recommendation [214] DENYING Pasquale Peter

             Goduto’s Motion to Suppress Identification Testimony [151] and Motion

             to Sever [146].




AO 72A
(Rev.8/82)
             Case 1:11-cr-00230-AT-GGB Document 249 Filed 02/02/12 Page 2 of 2




               SO ORDERED this 2nd day of FEBRUARY, 2012.


                                            /s/ Julie E. Carnes       _
                                            JULIE E. CARNES
                                            CHIEF U.S. DISTRICT JUDGE




                                                2




AO 72A
(Rev.8/82)
